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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
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                                     )
EXXON MOBIL CORPORATION,             )       Civil Action No.: 19-1277 (APM)
                                     )
                  Plaintiff,         )
                                     )
v.                                   )
                                     )
CORPORACIÓN CIMEX, S.A., AND         )
UNIÓN CUBA-PETRÓLEO,                 )
                                     )
                  Defendants.        )
____________________________________)

                                 NOTICE OF APPEARANCE

       To the Clerk of this Court and all parties of record:
       Please take note that by this filing, attorney Michael Krinsky of Rabinowitz, Boudin,
Standard, Krinsky, and Lieberman, P.C. hereby enters his appearance as counsel in this case for
Defendants.


       Dated: August 2, 2019.                 Respectfully submitted,


                                                /s/ Michael Krinsky
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